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                     IN THE UNITED STATES DISTRICT COURT  
                     FOR THE MIDDLE DISTRICT OF GEORGIA 
                              ATHENS DIVISION 
 
PRISON LEGAL NEWS, a Project of  : 
THE HUMAN RIGHTS DEFENSE              : 
CENTER, a Not‐for‐Profit Corporation, : 
Incorporated in the State of          : 
Washington,                           : 
                                      : 
       Plaintiff,                     : 
                                      :        
v.                                    :      CIVIL ACTION 
                                      :      No. 3:12‐CV‐00125 (CAR) 
JOE CHAPMAN, the Sheriff of           : 
Walton County, Georgia, and           : 
WADE HARRIS, Jail Commander           : 
for Walton County Jail, in their      : 
official and individual capacities,   : 
                                      : 
       Defendants.                    : 
                                      : 
 
                         Order on Motion for Attorneys’ Fees 

       Plaintiff  Prison  Legal  News  (“PLN”  or  “Plaintiff”)  filed  a  civil  rights  lawsuit 

under  42  U.S.C.  §  1983  against  Defendants  Sheriff  Joe  Chapman  and  Jail  Commander 

Wade Harris in their official and individual capacities. Plaintiff claimed that Defendants 

violated their First and Fourteenth Amendment rights by enforcing certain mail policies 

that  unlawfully  restricted  Plaintiff’s  means  of  communicating  with  inmates  in  the 

Walton County Jail. After a bifurcated bench trial addressing the issues of liability and 

equitable relief, the Court found for Defendants on one of Plaintiff’s First Amendment 

claims, finding Defendants’ “post‐card only” policy constitutionally sound.  However, 

                                               1 
 
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the  Court  found  for  Plaintiff  on  its  two  other  claims,  finding  Plaintiff  was  entitled  to 

declaratory  relief  as  to  its  publication  ban  and  due  process  claims,  as  both  were 

unconstitutional  under  the  First  and  Fourteenth  Amendments  respectively.  Plaintiff 

timely moved for an award of attorneys’ fees and expenses under 42 U.S.C. § 1988 [Doc. 

106].  Defendants  oppose  Plaintiff’s  request  as  unreasonable.  After  thorough 

consideration, the Court GRANTS Plaintiff’s Motion for Attorneys’ fees and costs [Doc. 

106] and awards fees in the amounts specified below. 

                                               Discussion 

        Plaintiff seeks attorneys’ fees under § 1988(b), which specifically allows attorneys 

bringing claims under § 1983 to seek fees. Although under the “American Rule” courts 

generally  do  not  award  fees  to  the  prevailing  party  in  a  civil  suit,  under  fee  shifting 

provisions, like  § 1988, Congress has allowed for a “prevailing party” to seek an award 

of attorney’s fees.1   

         In order to be a prevailing party under § 1988(b), there must be a court‐ordered 

“material alteration of the legal relationship of the parties.”2 In other words, if Plaintiff 

has succeeded on “any significant issue…which achieved some of the benefit the parties 

sought  in  bringing  the  suit,”  they  are  considered  the  “prevailing  party.”3  However, 



                                                             
1 Smalbein ex rel Estate of Smalbein v. City of Daytona Beach, 353 F. 3d 901, 904 (11th Cir. 2003). 

2  Buckhannon  Board  &  Care  Home,  Inc.,  W.  Va.  Dept.  of  Health  &  Human  Res.  532  U.S.  598,  604 

(2001). 
3 Smalbein, 353 F. 3d at 907 (citations omitted). 


                                                      2 
 
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finding that the Plaintiff is a prevailing party  is merely a “statutory threshold.”4 After 

the  court  makes  this  finding,  it  is  then  tasked  with  determining  what  constitutes  a 

“reasonable” fee.5  

       Because the Court found for Plaintiff on two of its three claims, Defendants argue 

that  Plaintiff  did  not  achieve  sufficient  success  to  warrant  attorneys’  fees,  and, 

additionally, that the fees sought are unreasonable.  However, there can be little doubt 

that  Plaintiff  has  materially  altered  its  relationship  with  Defendants  and  achieved  a 

significant benefit in bringing this suit. Accordingly, the Court finds that Plaintiff is the 

prevailing party and thus meets the threshold requirement for receiving attorneys’ fees. 

However, the Court agrees that Plaintiff’s fee request should be reduced; the Court now 

turns its discussion to the “reasonableness” of Plaintiff’s request for attorneys’ fees. 

       1. The Lodestar Calculation 

       A reasonable attorneys’ fee award under § 1988 is properly calculated under the 

“lodestar”  by  multiplying  the  number  of  hours  reasonably  expended  on  the  litigation 

times  a  reasonable  hourly  rate.6  Once  the  lodestar  is  determined,  it  “can  then  be 

adjusted  according  to  the  results  obtained  by  the  plaintiff.”7  Here,  Plaintiff,  as  the  fee 




                                                             
4 Hensley v. Eckhart, 461 U.S. 424, 433, (1983). 

5 Id. 

6 American Civil Liberties Union of Georgia v. Barnes, 168 F. 3d 423 (11th Cir. 1999) (citing Blum v. 

Stenson, 465 U.S. 886, 888 (1984)).  
7 Id. (citing Loranger v. Stierheim, 10 F. 3d 776, 781 (11th Cir. 1994)). 


                                                   3 
 
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applicant, bears the burden of establishing the reasonableness of its fees.8 In making this 

calculation, the court should exclude hours that are “excessive, redundant, or otherwise 

unnecessary,” and thus not “reasonably expended.”9  

        Factors  the  court  should  consider  in  calculating  an  award  include:  (1)  the  time 

and  labor  required;  (2)  the  novelty  and  difficulty  of  the  legal  questions;  (3)  the  skill 

requisite to perform the legal service properly; (4) the preclusion of other employment 

by the attorney due to the acceptance of the case; (5) the customary fee; (6) whether the 

fee is fixed or contingent; (7) time limitations imposed by the client or circumstances; (8) 

the amount involved and the results obtained; (9) the expertise, reputation, and ability 

of the attorneys; (10) the “undesirability” of the case; (11) the nature and length of the 

professional relationship with the client; and (12) awards in similar cases. 10  Ultimately, 

the  trial  court  has  the  discretion  to  determine  reasonable  attorneys’  fees:  “The  court, 

either  trial  or  appellate,  is  itself  an  expert  on  the  question  and  may  consider  its  own 

knowledge  and  experience  concerning  reasonable  and  proper  fees  and  may  form  an 

independent judgment either with or without the aid of witnesses as to value.”11   

        In  the  present  case,  Plaintiff  is  requesting  the  amount  of  $239,464.75  for  739.08 

hours spent on this case. The total hours presented to this Court represent the work of 

                                                             
8 Norman v. Housing Authority of City of Montgomery, 836 F.2d 1292, 1299 (11th Cir. 1988). 

9 Hensley, 461 U.S. at 434. 

10 Johnson v. Ga. Hwy. Express, Inc., 488 F.2d 714, 717‐719 (5th Cir. 1974), abrogated in part on other 

grounds,  Blanchard  v.  Bergeron,  489  U.S.  87  (1989);  see  also  Cable/Home  Comm.  Corp.  v.  Network 
Prod., Inc., 902 F.2d 829, 853 (11th Cir. 1990).   
11 See Norman, 836 F.2d at 1303 (citations omitted). 


                                                     4 
 
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nine legal professionals, eight of whom are attorneys, and one of whom is a paralegal. 

Plaintiff requests the following hourly rates for the attorneys: Gerald Weber $520; Brian 

Spears $420; Lance Weber $400; Albert Wan $275; Jeff Filipovits $250; Alissa Hull $225; 

Robert  Jack  $225;  Monique  Roberts  $200.  For  the  one  paralegal  on  the  case,  Teresa 

Knight,  Plaintiff  requests  $95  per  hour.  Having  considered  the  parties’  briefs  and  the 

various  factors  listed  above,  as  well  as  its  own  knowledge  and  experience,  the  Court 

finds Plaintiff’s request for fees unreasonable and excessive and cuts them accordingly. 

           a. Reasonableness of Fees 

           In  determining  reasonable  attorneys’  fees,  district  courts  “are  not  authorized  to 

be generous with the money of others, and  it is as much the duty of courts to see that 

excessive fees and expenses are not awarded as it is to see that an adequate amount is 

awarded.”12    Moreover,  §  1988  “is  a  tool  that  ensures  the  vindication  of  important 

rights.”13  It  was  not  intended  to  produce  windfalls  or  be  “a  relief  Act  for  lawyers.”14  

The  Court  recognizes  that  Plaintiff  has  attempted  to  cut  its  fees  in  various  ways 

including an across‐the‐board 10% cut.15 However, for the following reasons, the Court 

finds  that  to  reward  Plaintiff  the  fees  they  request  would  create  an  inappropriate 

windfall. 



                                                             
12 American Civil Liberties Union v. Barnes, 168 F.3d 423, 428 (11th Cir. 1999). 

13 Farrar v. Hobby, 506 U.S. 103, 122 (1992). 

14    Riverside v. Rivera, 477 U.S. 561, 588 (1986) (Rehnquist, J., dissenting). 
15    Gerald Weber cut his fees by 15%. 

                                                       5 
 
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           There  is  no  doubt  that  Plaintiff  is  in  the  business  of  vindicating  prisoners’ 

rights.16 In fact, Plaintiff has been filing similar suits to this one across the country since 

1997.17    In  these  cases,  Plaintiff  has  received  a  range  of  attorneys’  fees  from  $32,000 to 

$800,000.18  The largest award was in a case that was being litigated simultaneously to 

this one and involved very similar issues and even overlapping lawyers—Lance Weber 

and Alissa Hull.19   

           It  is  clear  to the  Court,  that  given  its  history  of  litigation  in  this  area,  Plaintiff’s 

system  of  asserting  prisoner’s  rights  is  a  well‐oiled  machine.  In  fact,  Lance  Weber  is 

currently  engaged  in  similar  suits  in  Florida  and  Nevada.20  Therefore,  considering  the 

familiarity the lawyers on this case  have with  Plaintiff’s  various suits and expertise in 

the  area,  the  Court  is  simply  shocked  that  highly  experienced  lawyers  such  as  Gerald 

and  Lance  Weber,  and  Brian  Spears,  required  each  other’s  assistance,  let  alone  the 

assistance  of  five  additional,  less‐experienced  attorneys,  especially  where,  in  contrast, 

Defendants had merely one attorney throughout the entire litigation process. Moreover, 

the Court finds that there was nothing particularly exceptional or impressive about the 
                                                             
16  See  Prison  Legal  News,  Legal  Action,  https://www.prisonlegalnews.org/legal‐action‐map/ 

(last visited August 18, 2015). 
17 Humanists of Washington v. Lehman, No. 97–CV–05499–FDB–JKA (W.D.Wash. 1999). 

18 See Prison Legal News v. Schwarzenegger, 608 F.3d 446, 455 (9th Cir. 2010) (combined fees and 


cost award of $137,502.46); Prison Legal News v. Columbia Cnty., No. 3:12‐CV‐00071‐SI, 2014 WL 
1225100,  at  *1  (D.  Or.  Mar.  24,  2014),  appeal  dismissed  (July  1,  2014)  (combined  fees  and  cost 
award  of  $802,000);  Prison  Legal  News  v.  Umatilla  Cnty.,  No.  2:12‐CV‐01101‐SU,  2013  WL 
2156471, at *10 (D. Or. May 16, 2013) (combined fees and cost award of $32,763.69).  
19    Prison Legal News v. Columbia Cnty., No. 3:12‐CV‐00071‐SI, 2014 WL 1225100, at *1. 
20    Lance Weber Dec., Doc. 106‐5 at 4. 

                                                         6 
 
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legal work performed by Plaintiff’s attorneys, except their ingenuity in generating legal 

fees.  

          Furthermore, the Court finds that this case was not so complex as to merit such 

excessive  legal  fees.  It  presented  neither  factual  nor  legal  issues  that  were  especially 

complex, difficult, or novel. This case was a relatively straightforward challenge on First 

and  Fourteenth  Amendment  grounds  to  a  jail’s  mail  policies—a  factual  and  legal 

scenario  that  Plaintiff  has  been  litigating  nationwide  and  one  with  which  Plaintiff’s 

seasoned attorneys were very familiar. 21 

          The Court  recognizes, as Plaintiff points out, that having multiple lawyers on a 

case is not “inherently  unreasonable.”22 However, the Court finds that given Plaintiff’s 

familiarity  with  this  type  of  litigation,  eight  lawyers  and  only  one  paralegal  was 

excessive  overstaffing  and  fundamentally  unreasonable.23  Moreover,  on  several 

occasions the Court expressed its incredulity over Plaintiff’s need for so many attorneys 

on this case.  

          Most  pointedly,  at  a  hearing  on  September  24,  2013,  the  Court  asked  Plaintiff 

why it had four attorneys present, to which Plaintiff responded that this case involved 


                                                             
21  Moreover,  the  Court  explicitly  told  Plaintiff  that  the  Court  did  not  consider  this  to  be  a 

complex  case  at  the  September  24th  hearing.  See  Doc.  53.  See  also  Doc.  109‐4  (Plaintiff’s 
attorney’s  relayed  to  the  Court  that  the  “law  is  relatively  straightforward  and  the  facts…are 
easily within the ken of an average juror.”)  
22 American Civil Liberties, 168 F. 3d, at 432.  

23  Hensley,  461  U.S.  at  434  (noting  that  in  determining  reasonableness  “cases  may  be 

overstaffed”). 

                                                      7 
 
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various complex issues. The Court, entirely unconvinced, proceeded to inform Plaintiff 

that  the  nature  and  complexity  of  the  claims  at  issue  do  not  justify  such  an  excess  of 

attorneys  on  the  case,  and  the  Court  instructed  Plaintiff  that  two  attorneys  would  be 

more  than  sufficient.24  Later,  Ms.  Hull  withdrew  as  an  attorney  in  the  case;  however, 

Plaintiff  proceeded  to  add  two  more  attorneys  both  of  whom  never  made  an 

appearance,  nor were they admitted to practice in this Court or licensed in the State.25 

The  Court  finds  adding  two  “supporting”  attorneys,  Mr.  Jack  and  Ms.  Roberts,  to the 

litigation  after  the  Court’s  explicit  admonishment  was  flagrant  and  superfluous.  

Plaintiff’s persistence in maintaining so many attorneys, as well as adding more, despite 

the Court’s instruction on the point, can only be seen as Plaintiff thumbing  its  nose at 

the Court and a blatant disregard for the reasonableness required under the fee‐shifting 

provisions  of  §  1988.    Indeed,  the  Court  finds  that  Plaintiff’s  excessive  number  of 

attorneys led directly to an unreasonable accumulation of billed hours and fees.  

       For example, Plaintiff claims  it gave the  lower‐billing attorneys the “most time‐

consuming  tasks,”26  and  in  doing  so  created  a  strict  division  of  labor  ultimately 




                                                             
24 Doc. 53. 

25 See Case v. Unified Sch. Dist. No. 233, Johnson Cnty., Kan., 157 F.3d 1243, 1252 (10th Cir. 1998) 

(finding that the appellants were not entitled to reimbursement for an attorney that never made 
an appearance in the case because she failed to establish that her work was “actually necessary 
or essential”). 
26 Pl. Mtn. for Attys’ Fees, Doc. 107 at 14. 


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lowering  the  costs;  however,  the  Court  is  unconvinced. 27    For  example,  Plaintiff 

contends that Mr. Wan and Mr. Filipovits were tasked with making and responding to 

discovery requests and drafting the briefs, which they claim reduced the fees submitted. 

However,  Mr.  Filipovits  only  billed  fifty  hours  less  than  Gerald  Weber  and  Lance 

Weber,  both  of  whom  billed  over  140  hours  respectively,  and  Mr.  Wan  only  billed  20 

hours more than Lance and Gerald Weber.  

      Additionally, although Mr. Filipovits and Mr. Wan were tasked with drafting the 

Complaint  and  Preliminary  Injunction,  which  took  them  36  hours  and  19  hours 

respectively,  Gerald  Weber,  Lance  Weber,  Brian  Spears,  and  Alissa  Hull  all  reviewed 

and revised the documents.  Plaintiff’s review and revision process through the various 

attorneys led to the accumulation of 94 hours billed for the Complaint and Preliminary 

Injunction  alone.    These  numbers  would  be  large  even  if  this  was  Plaintiff’s  first 

complaint involving these types of claims, but it is extraordinary considering that most 

of the information could have been easily derived from the complaints Plaintiff has filed 

across  the  nation  in  its  litigation  practice.  Similarly,  Plaintiff  tasked  Robert  Jack  with 

drafting the trial brief. Mr. Jack took 16.6 hours to draft the brief, but Gerald and Lance 

Weber almost doubled that, by taking 14.6 hours to review and revise it.  



                                                             
27  Plaintiff  has  simply  failed  to  convince  the  Court  that  its  division of labor  led  to  reasonable 

accumulation  hours;  however,  the  Court  notes  that  Plaintiff’s  lawyers  spent  6.5  hours 
conferencing over the topic. See Gerald Weber’s Dec., Doc. 106‐2 at 18; Lance Weber’s Dec., Doc. 
106‐5 at 27, 32, 36, 37, 39. 

                                                      9 
 
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       Another example of excessive work, as Defendant points out, is where Mr. Wan 

spent time briefing a Daubert motion after the Court’s ruling that it would not entertain 

such motions. Mr. Wan avers that he performed this task in order to give trial counsel a 

basis for a motion just in case one was ultimately required. The Court finds such work 

unnecessary, especially were the  Court has already made  its ruling and four seasoned 

trial lawyers were present to handle any unexpected contingency.  

      Additionally,  the  Court  finds  that  17.7  hours  of  research  and  drafting  memos  on 

relevant  cases  decided  by  this  Court  on  similar  subjects  in  the  past  unnecessary, 

especially where Gerald Weber has appeared before this Court in the past and a quick 

Westlaw  search  would  succinctly  reveal  the  required  information.  Finally,  as  noted 

above, the Court finds that the issues in this case are simply neither legally nor factually 

complex enough to warrant eight attorneys stacking up 781.65 hours in fees.  

        When  reviewing  an  application  for  attorneyʹs  fees, the  court  may  appropriately 

consider  “whether  the  work  performed  was  ‘legal  work  in  the  strict  sense’  or  was 

merely  clerical  work  that  happened  to  be  performed  by  a  lawyer.”28    In  other  words, 

attorneys  should  not  receive  full  compensation  for  performing  tasks  that  should  have 

been  delegated  to  non‐lawyers. 29  For  example,  clerical  tasks,  such  as  “reorganizing 

discovery,”  “preparing  document  indexes,”  and  “preparing  deposition  summaries” 

which were performed by Plaintiff’s lawyers are tasks that should not have been billed 
                                                             
28 Ga. Hwy. Express, Inc., 488 F.2d at 717. 

29 Missouri v. Jenkins by Agyei, 491 U.S. 274, 288, n. 10 (1989).   


                                                    10 
 
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at a lawyer’s rate because they are tasks better suited to a paralegal. Another example is 

that Gerald Weber and Jeff Filipovits played a supporting role at trial, handling issues 

related to Plaintiff’s exhibits. An attorney that bills $520 an hour, let alone one that bills 

at $275, is not properly used at a trial to help with exhibits—these are tasks better suited 

to  non‐attorneys  at  non‐attorney  rates.  Such  profligate  use  of  an  attorney’s  time  is 

simply  unreasonable—no private client would pay for such excess, nor will this Court 

reward it.  

        Plaintiff  also  requests  attorneys’  fees  for  litigating  its  attorneys’  fees.  First,  the 

Court  assumes  that  counsel  kept  records  of  its  work  in  the  ordinary  course  of  its 

business  and  no  substantial  time  was  required  to  compile  or  review  those  records. 

Secondly, the legal issues associated with a request for attorneys’ fees are neither novel 

nor  complicated.    Although  there  is  nothing  inherently  excessive  about  a  request  for 

fees  associated  with  filing  attorneys’  fees,30  Plaintiff’s  attorneys  spent  a  total  of  35.78 

hours researching, compiling, and briefing this issue—this is excessive.  

        Therefore, for the various reasons stated above, the Court finds Plaintiff’s hours 

unreasonable  and  should  be  reduced  50%,  from  781.65  hours  to  390.825  hours. 

However,  the  Court  finds  that  Ms.  Knight,  Mr.  Spears’s  paralegal,  is  entitled  to  her 




                                                             
30 Johnson v. State of Miss., 606 F.2d 635, 638 (5th Cir. 1979). 



 

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17.75 hours and is excluded from the across‐the‐board cut.  The Court now turns to the 

relevant market rate in order to complete its lodestar calculation.  

           b. Reasonable Hourly Rate 

           A  reasonable  hourly  rate  is  “the  prevailing  market  rate  in  the  relevant  legal 

community for similar services by lawyers of reasonably comparable skills, experience, 

and  reputation.”31  The  relevant  legal  market  is  generally  the  place  where  the  case  is 

filed.32  The  prevailing  party  “bears  the  burden  of  producing  satisfactory  evidence  that 

the requested rate is in line with prevailing market rates.”33 

           This case was filed in Athens, Georgia in the Middle District of Georgia, and the 

events  giving  rise  to this  litigation  occurred  in  and  around  Athens  in  Walton  County.    

Four  of  Plaintiff’s  attorneys  practice  in  the  Metropolitan  Atlanta  area,  and  four  have 

practices based outside of the State. Defense counsel’s practice is in Athens.  

           Plaintiff  argues  that  Atlanta  is  the  relevant  market  because  there  were  no 

attorneys in the Athens market willing or able to litigate this case. However, the Court 

finds  that  the  Athens  and  Middle  District  of  Georgia’s  legal  market  is  highly 

sophisticated and boasts lawyers of all skills, including those who work on civil rights 

actions  such  as  this  one.  Additionally,  although  the  Court  recognizes  that  civil  rights 




                                                             
31 American Civil Liberties, 168 F. 3d at 436 (quoting Norman, 836 F.2d at 1299). 

32    See Cullens v. Ga. Dep’t of Transp., 29 F.3d 1489, 1494 (11th Cir. 1994).   
33    Norman, 836 F. 2d at 1299. 

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cases are often risky due to the fact that these cases are taken on a contingency basis,34 

the  Court  does  not  find  that  the  risks  were  such  that  attorneys  in  Athens,  and  the 

Middle  District  generally,  would  have  been  precluded  from  taking  the  case.  Nor  does 

the Court find that the legal questions here were so difficult that a well‐seasoned local 

attorney could not have competently  handled the case. In fact, an Athens attorney did 

and  handled the  defense entirely by  himself. Therefore, the Court is  unconvinced that 

there are no attorneys in the Athens area, or in the Middle District of Georgia generally, 

that  could  have  competently  litigated  this  case  from  start  to  finish.  Accordingly,  the 

Court  finds  that  Athens,  and  not  Atlanta,  is  the  appropriate  legal  community  for  the 

purpose of determining reasonable hourly rates.   

       The Court recognizes the high level of legal competence in the area of civil rights 

litigation associated with Plaintiff’s surfeit of lawyers, and in particular Gerald Weber, 

Lance  Weber,  and  Brian  Spears;  however,  the  Court  finds  Gerald  Weber’s  $520,  Brian 

Spears’s  $420,  and  Lance  Weber’s  $400  hourly  rates  to  be  excessive  for  the  Athens 

community  specifically  and  the  Middle  District  generally.  Accordingly,  after 

considering the parties’ arguments, weighing the various factors, and based on its own 

research, personal expertise, and experience, the Court finds $300 an hour a reasonable 


                                                             
34 Lance Weber, Alissa Hull, Robert Jack, and Monique Roberts are all “in house counsel” at the 

Human  Rights  Defense  Center.  However,  Plaintiff  has  presented  to  the  Court  that  Plaintiff 
could only afford to hire counsel on a contingency fee basis. Therefore, the Court assumes that 
aforementioned  attorneys  were  not  salaried  counsel,  but  were  all  engaged  on  a  contingency 
basis. See Pl. Mtn. for Attys’ Fees, Doc. 107 at 17. 

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rate  in  the  Athens  community  for  attorneys  with  similar  experience  and  expertise  as 

Gerald  Weber,  Lance  Weber,  and  Brian  Speers.35    For  the  remaining  attorneys  in  the 

case,  the  Court  finds  the  reasonable  rates  for  attorneys  with  similar  experience  and 

expertise  in  the  Athens  community  to  be  as  follows:  Albert  Wan  $200;  Jeff  Filipovits 

$175; Alissa Hull $150; Robert Jack $150; Monique Roberts $150. The Court further finds 

$95  is  a  reasonable  hourly  rate  for  a  paralegal  in  this  market.  Therefore,  the  Court 

calculates the  lodestar by multiplying the relevant Athens  hourly  rate times the  hours 

reduced by 50% as follows:  


Attorney               Hours           Hourly Rate         Hours After            Total Fee 
                       Claimed                             50% reduction 
Gerald Weber           148             $300                74                     $22,200 

Brian Spears           73.75           $300                36.88                  $11,064 

Lance Weber            146.4           $300                73.2                   $21,960.00 

Albert Wan             183.84          $200                91.92                  $18,384 

Jeff Filipovits        93.21           $175                46.61                  $8,156.75 

Alissa Hull            57.1            $150                28.55                  $4,282.50 

Robert Jack            52              $150                26                     $3,900 


                                                             
35 Plaintiff has submitted two affidavits from lawyers in the Athens legal community, Janet Hill, 

and  Edward  Tolley.  Doc.  106‐7;  Doc.  106‐9.  Ms.  Hill  stated  that  lawyers  with  comparable 
litigation  experience  could  bill  $300‐450  per  hour,  and  Mr.  Tolley  asserted  that  $350‐390  per 
hour was the going market rate for lawyers with similar experience. Although the Court gives 
“weight”  to  these  statements,  the Court  need  not  accept  them  as  “gospel.”  See  American  Civil 
Liberties, 168 F. 3d at 430. 

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Monique            9.6           $150              4.8         $720 
Roberts 
Teresa Knight      17.75         $95               17.75       $1,686.25 
(paralegal) 
Total                                                          $92,353.50 

 

Based on the above, the Court HEREBY ORDERS Defendants to pay Plaintiffs 

$92,353.50 in attorney’s fees and $11,871.76 in expenses. 


       SO ORDERED, this 29th day of September, 2015. 

                                          S/  C. Ashley Royal 
                                          C. ASHLEY ROYAL 
                                          UNITED STATES DISTRICT JUDGE 




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